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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK

JIMMY HARRIS,                                    )
                                                 )
                           Plaintiff,            )       C.A. No.
                                                 )
              vs.                                )
                                                 )                  NOTICE OF REMOVAL
BURLINGTON COAT FACTORY and                      )
URBAN EDGE PROPERTIES,                           )
                                                 )
                           Defendants


         Defendant, Burlington Coat Factory of Texas, Inc. (incorrectly identified in the caption as

“Burlington Coat Factory”), hereby removes this civil action bearing Index No. 15327622/2022

from the Supreme Court of the State of New York, County of New York, to the United States

District Court for the Southern District of New York pursuant to 28 U.S.C. §1446 and 28 U.S.C.

§1332.

         1.         Plaintiff, Jimmy Harris, (“Plaintiff”), commenced this action in the Supreme

Court of the State of New York, County of New York by filing a Civil Action Complaint

(“Complaint”) on or about April 13, 2022. A copy of the Complaint is attached hereto as Exhibit

“A” without admission or adoption.

         2.         Plaintiff’s Complaint filed in the Supreme Court of the State of New York,

County of New York, with Index No. 15327622/2022 was directed against Defendants,

Burlington Coat Factory and Urban Edge Properties.

         3.         Plaintiff seeks to recover damages for severe and permanent injuries allegedly

caused by a defective and malfunctioning escalator at the Burlington Coat Factory Store located

at 2500 Central Park Avenue in Yonkers, New York. (See Exhibit “A”).

         4.         The Plaintiff is a resident of the County of Westchester, State of New York. See

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Exhibit “A”).

        5.       Plaintiff’s current address is 121 S. Riverside Avenue, Croton on Hudson, New

York (Westchester County) and he has lived at that addressed since 2018, according to

“PeopleMap Report (Premier)” provided by WESTLAW (Thompson Reuters).

        6.       Phone numbers associated with the Plaintiff include multiple phone numbers

with area code “914” which are all phone numbers issued in the State of New York, (typically

for Westchester County), according to “PeopleMap Report (Premier)” provided by WESTLAW

(Thompson Reuters).

        7.       Plaintiff’s Social Security Number, XXX-56-XXXX, was issued in the State of

New York between 1975 and 1976, according to “PeopleMap Report (Premier)” provided by

WESTLAW (Thompson Reuters).

        8.       For diversity purposes, it is well-established that the citizenship of an individual

is equivalent to his or her domicile. Yonofsky v. Wernick, 362 F. Supp. 1005 (S.D.N.Y. 1973);

Broadstone Realty Corp. v. Evans, 213 F. Supp. 261, 265 (S.D.N.Y. 1962). Domicile is defined

by residence in fact along with the intent to remain there or to return when absent. Kaufman &

Broad v. Gootrad, 397 F. Supp. 1054, 1055 (S.D.N.Y. 1975). An individual’s residence at the

time a lawsuit is commenced provides prima facia evidence of their domicile. Broadstone Realty

Corp. v. Evans, 213 F. Supp. 261, 265 (S.D.N.Y 1962). Domicile must be established by the

totality of the evidence of a person’s contacts with the state and intent to remain there. See, e.g.,

supra., Broadstone Realty Corp. v. Evans, supra.

        9.      Based on the totality of Plaintiff’s aforementioned contacts with the State of New

York, Plaintiff is a citizen of the State of New York.

        10.      Defendant, Burlington Coat Factory of Texas, Inc., is a foreign corporation

organized and existing under the laws of the State of Florida, and has its principal place of


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business located at 1830 Route 130 North, Burlington, New Jersey 08016. Defendant,

Burlington Coat Factory of Texas, Inc. is a citizen of the State of Florida and the State of New

Jersey is not a citizen of the State of New York.

        11.     Defendant Urban Edge Properties is a Maryland Real Estate Investment Trust,

organized and existing under the laws of the State of Maryland. According to public information

available at the Maryland Secretary of State’s website, Urban Edge Properties’ principal place of

business is located at 2405 York Road, Suite 201, Lutherville Timonium, MD 21093-2264.

Defendant, Urban Edge Properties, is a citizen of the State of Maryland and is not a citizen of the

State of New York.

        12.     Pursuant to Plaintiff’s Complaint (Exhibit “A”, ¶¶ 8-12) by reason of

Defendants’ alleged negligence, recklessness and carelessness, Plaintiff was allegedly caused to

sustain severe and permanent injuries, serious injuries, pain, shock and mental anguish, all of

which is alleged to be permanent; Plaintiff has incurred and will continue to incur expenses for

medical care and attention; Plaintiff has been unable to perform his normal activities and duties

and has sustained losses therefrom.

        13.     Based on the alleged damages averments contained in the Complaint (Exhibit

“A”, ¶¶ 8-12), logically the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000) exclusive interest and costs as this case allegedly involves serious, severe permanent

physical injuries leaving Plaintiff unable to perform normal activities.

        14.     This Honorable Court has original jurisdiction pursuant to 28 U.S.C. § 1332.

        15.     Since Plaintiff and Defendants are citizens of different states, this dispute involves

controversies between citizens of different states and therefore is removable pursuant to 28

U.S.C. §1441.

        16.     Pursuant to 28 U.S.C. § 1446(a) this Notice of Removal is filed in the United


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States District Court for the Southern District of New York, which is the District in which the

State Court Action is pending.

        17.    This Notice of Removal is timely pursuant to 28 U.S.C. §1446(b) and 28 U.S.C.

§1446(b)(3) as it was filed within thirty (30) days after Defendant received a copy of the initial

pleading (original Complaint at Exhibit “A”) setting forth a claim for relief upon which the

action or proceeding is based.

        18.    Defendant Burlington Coat Factory of Texas, Inc. will file on this date a copy of

this Notice of Removal with the Clerk’s Office of the Supreme Court of the State of New York,

County of Bronx as required by 28 U.S.C. § 1446(c).

        19.    Defendant Burlington Coat Factory of Texas, Inc. will on this date give written

notice of the filing of this Notice of Removal to Plaintiff as required by 28 U.S.C. § 1446(c).

        WHEREFORE, Defendant Burlington Coat Factory of Texas, Inc. respectfully requests

that the above-entitled action now pending in the Supreme Court of the State of New York,

County of New York, be removed therefrom to this Court.


                                              SPECTOR GADON ROSEN VINCI P.C.


Dated: May 19, 2022                   By:     /s/ Randi A. Wolf
                                              Randi A. Wolf, Esquire
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                                              Philadelphia, PA 19103
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                                              New York, NY 10007

                                              Attorney for Defendant,
                                              Burlington Coat Factory




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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

JIMMY HARRIS,                                  )
                                               )
                      Plaintiff,               )       C.A. No.
                                               )
            vs.                                )
                                               )             CERTIFICATE OF SERVICE
BURLINGTON COAT FACTORY and                    )
URBAN EDGE PROPERTIES,                         )
                                               )
                      Defendants


        I hereby certify that on May 19, 2022 I served the foregoing Notice of Removal on all

counsel of record by causing true and correct copies thereof to be sent via U.S. Mail., postage

prepaid, addressed to the following:

                                       Patrick D. Gatti, Esquire
                                           Segal & Lax, PC
                                          501 Fifth Avenue
                                              Suite 2004
                                       New York, NY 10017
                                        Attorneys for Plaintiff


                                               SPECTOR GADON ROSEN VINCI P.C.



Dated: May 19, 2022                            By: Randi A. Wolf
                                                   Randi A. Wolf, Esquire




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